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                                            May 22, 2013


VIA E-MAIL
Bryan F. Aylstock, Esq.
Aylstock, Witkin, Kreis & Overholtz, PLLC
17 Main Street, Suite 200
Pensacola, FL 32502

       RE:     In re: Ethicon, Inc. Pelvic Repair System
               Products Liability Litigation MDL No. 2327

Dear Bryan:

       I am following up on the correspondence from you and Tom Cartmell requesting that all
SOPs be produced. First, I want to reiterate that Ethicon does not use the term “SOP.”
Nevertheless, as we understand your request, you are interested in the standardized policies and
procedures that relate to the products at issue in this litigation.

      We have previously provided you with a list of over 800 procedures and other documents
from which you requested approximately 181. We have produced those to you and the productions
amount to over 15,000 pages of documents.

        We have been working closely with the company to come up with ways of providing the
additional procedures that you seek concerning the products at issue in this litigation. Given some of
the ideas you have put on the table (e.g., producing the whole database, doing keyword searches,
etc.), we have sought an outside consultant familiar with these types of systems to see if these ideas
are even feasible, and if so, how long they would take to accomplish given the sophistication of the
database at issue.

       To this end, we have retained Jeffrey Hewett, the founder and CEO of Granite Legal
Systems. Mr. Hewett has extensive experience in electronic data systems selection and
implementation projects, as well as in the development of customized litigation systems and
administration of large-scale discovery management projects.
        We asked Mr. Hewett to assess the Adaptiv document management system to determine how
policies and procedures relevant to this litigation may be identified and retrieved in an effective and
efficient manner. Mr. Hewett’s investigation was comprised of interviews with Ethicon records
management personnel and Adaptiv system technical support personnel. Additionally, he has
reviewed Adaptiv system design documents, as well as other Adaptive data structure documentation.
       As more fully discussed below, Mr. Hewett has determined that: (a) the Adaptive system
cannot be effectively queried with "keyword" search terms, (b) the most efficient way to query they
system is by product codes; these searches are in progress and are estimated to take approximately
two to three weeks to complete due to the manual nature of these searches, and (c) for policies and
procedures of general application, filters must be employed using limiters agreed to by the parties.
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       The Adaptiv system consolidates several prior facility-specific systems and was implemented
in several phases during 2012 and 2013. The three predecessor systems to Adaptiv are the Agile,
ACMS and ECCS systems. The Agile system was implemented in 2003, ACMS implementation
occurred in 2006, and ECCS was implemented in 2003.
        Based on Mr. Hewett’s investigation, the policies and procedures stored in the predecessor
systems were migrated to the Adaptiv system. However, to the extent that policies and procedures
predate these prior systems, those documents are not necessarily located in the Adaptiv system as
they were not merged into the individual prior systems. This will be a separate issue that will have
to be addressed.
        The Adaptiv system manages two document repositories. The first repository contains
current release document versions. The second contains prior document versions (hereinafter
referred to as “the Archive library”).
        The Adaptiv current release repository contains more than 100,000 documents. The Archive
library, which includes historical document versions, contains approximately 500,000 documents.
These documents relate not just to Ethicon and its products, but also to numerous other Johnson &
Johnson companies and products wholly unrelated to this litigation.
        Mr. Hewett has further investigated methods by which targeted searches may be performed
to identify and retrieve procedures and policies for certain topics and for certain products. The
policies and procedures stored in Adaptiv are generally characterized as PPE or non-PPE. (PPE
stands for products, processes and equipment.) PPE policies and procedures are linked to specific
products. Non-PPE policies and procedures have general applicability and are not product specific.
       PPE policies and procedures related to the products at issue in this litigation may be searched
by product code and/or bill of material. The products at issue in this litigation are: Gynemesh,
Gynemesh M, Mersilene, Prolene Mesh, Prolene Soft Mesh, Prolift +M, Prolift, Prosima, TVT, TVT
AA, TVT Abbrevo, TVT Exact, TVT O, TVT S and Ultrapro.
        We are getting these searches are underway, and it is Mr. Hewett’s estimation that the
earliest that these searches can be completed is May 31, 2013, based on available resources and
access to the Adaptiv database. I realize that this sounds like a lot of time to run a search, but the
product codes must be run manually and this is a very time consuming process.
        After the responsive documents are identified, and depending upon volume, it is his
estimation that it will take an additional five days to export the documents as this is a manual process
requiring that each procedure be exported individually. Once exported, the volume of documents
and any need for redactions will drive the amount of time that it will take to review and produce
them.
         For non-PPE policies and procedures, Mr. Hewett has determined that key word searches
would likely not be a reliable or efficient method to search for these. In particular, to attempt to
develop a list of key words that would result in a reliable return would require an impractical amount
of time. Accordingly, to effectively perform a search, the use of pre-determined criteria (fields)
would be the most efficient means to narrow the universe of documents. We are putting together a
list of the criteria and will send them to you for your review.



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        After the personnel running these searches are given the criteria to be used, it is Mr. Hewett’s
estimation that it would take one week to return a list of the responsive documents. After the desired
documents are identified for collection, he then estimates that it would take an additional week to
export the documents based on the manual nature of that process. Again, once exported, the volume
of documents and any need for redactions will drive the amount of time that it will take to review
and produce them.
        After a thorough investigation, Mr. Hewett is unaware of an Adaptiv system functionality
which would support bulk document identification and export in support of litigation discovery
efforts. In his estimation, to download and export the entire contents of the Adaptiv repositories
would take several months and require numerous persons to perform this task. Further, such an
export would retrieve documents completely unrelated to the products at issue, as well as documents
related to companies other than Ethicon.
        While the PPE searches are underway, we would like to meet with you and your technical
advisors to come up with an agreeable process to search and retrieve the non-PPE procedures that
you are interested in. Hopefully, once our respective technical advisors talk, everyone will be
satisfied that the best methods have been employed to capture the procedures at issue.

       I suggest that we arrange a teleconference and/or Webex to accomplish this.             We can
generally be available May 28, 29, 30 or 31 at your convenience.



                                                     Sincerely,
                                                     BUTLER, SNOW, O'MARA, STEVENS &
                                                     CANNADA, PLLC




                                                     Benjamin M. Watson

BMW:fsw

cc:     Tom Cartmell
        Renee Baggett
        Christy Jones
        Donna Jacobs



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